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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)


ALAMEDA RESEARCH LTD. and FTX
TRADING LTD.,

                                    Plaintiffs,

                      - against -                               Adv. Pro. No. 23-50444 (JTD)

PLATFORM LIFE SCIENCES INC., LUMEN
BIOSCIENCE, INC., GREENLIGHT
BIOSCIENCES HOLDINGS, PBC,
RIBOSCIENCE LLC, GENETIC NETWORKS
LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS
BECKSTEAD,


                                    Defendants.


    ORDER (A) AUTHORIZING PLAINTIFFS TO ENTER INTO THE STIPULATION
    WITH PLATFORM LIFE SCIENCES, INC., (B) APPROVING THE STIPULATION,
                   AND (C) GRANTING RELATED RELIEF

                 Upon the motion (the “Motion”) 2 of Alameda Research Ltd. and FTX Trading

Ltd. (together, “Plaintiffs”), for entry of an order (this “Order”) (a) authorizing Plaintiffs to enter



1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
    and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
    complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

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    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.
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into the Stipulation, which is attached hereto as Exhibit 1, (b) approving the Stipulation, and

(c) granting certain related relief; and this Court having jurisdiction to consider the Motion

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated February 29, 2012; and this Court

being able to issue a final order consistent with Article III of the United States Constitution; and

venue of these Chapter 11 Cases and the Motion in this district being proper pursuant to 28

U.S.C. §§ 1408 and 1409; and this matter being a core proceeding pursuant to 28 U.S.C.

§ 157(b); and this Court having found that proper and adequate notice of the Motion and the

relief requested therein has been provided in accordance with the Bankruptcy Rules and the

Local Rules, and that, except as otherwise ordered herein, no other or further notice is necessary;

and objections (if any) to the Motion having been withdrawn, resolved or overruled on the

merits; and this Court having found and determined that the relief set forth in this Order is in the

best interests of the Plaintiffs and their estates; and that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein; and after due deliberation and sufficient

cause appearing therefor;

                IT IS HEREBY ORDERED THAT:

                1.      The Motion is GRANTED as set forth herein.

                2.      The Plaintiffs are authorized to enter into the Stipulation.

                3.      The terms of the Stipulation are approved in their entirety.

                4.      The failure to specifically include or reference any particular term or

provision of the Stipulation in this Order shall not diminish or impair the effectiveness of such

term or provision.




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               5.        The Plaintiffs are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

               6.        The requirements set forth in Bankruptcy Rule 6004(a) are waived.

               7.        This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6004(h) or otherwise.

               8.        This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation of this Order.




       Dated: February 13th, 2024                           JOHN T. DORSEY
       Wilmington, Delaware                                 UNITED STATES BANKRUPTCY JUDGE




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